                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI
                               WESTERN DIVISION


LISA BENSON COOPER,                             )
   Plaintiff,                                   )
v.                                              ) No. 17-00041-CV-W-BP
                                                )
KSCRIPPS MEDIA, INC.,                           )
  Defendant.                                    )




                        AMENDED JUDGMENT IN A CIVIL CASE

___X___ Jury Verdict. This action came before the Court for a trial by jury. The issues have
        been tried and the jury has rendered its verdict.

_______    Decision by Court. This action came to trial or hearing before the Court. The issues
           have been tried or heard and a decision has been rendered.

____X___ Decision by Court. This action has come before the Court as a briefed matter and a
         decision has been rendered.

       ORDER AND JURY VERDICT ON 2/11/2019:

        Summary Judgment granted to Defendant on April 2, 2018, with respect to (1) claims of
hostile work environment and (2) claims arising before limitation period. (Doc. 115)
All claims of discrimination based on events in September 2016, August 2017, and February
2018 dismissed by Order dated September 26, 2018, (Doc. 215).
All claims under the Missouri Human Rights Act withdrawn by Plaintiff on the ninth day of trial.
Judgment in favor of Defendant on Plaintiff’s claims of discriminatory denial of promotions,
pursuant to jury’s verdict as reflected on Verdict Forms A and B.
Judgment in favor of Plaintiff on Plaintiff’s claim of retaliatory suspension. Pursuant to jury’s
verdict as reflected on Verdict Form C, Plaintiff awarded $1,000 in actual damages and $50,000
in punitive damages.
Judgment in favor of Plaintiff on Plaintiff’s claim of retaliatory nonrenewal of contract.
Pursuant to jury’s verdict as reflected on Verdict Form D, Plaintiff awarded $25,000 in actual
damages and $125,000 in punitive damages.




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     ORDER DATED 6-26-19:


Defendant’s Motion for Attorney’s Fees and Costs is
DENIED. Plaintiff’s motion for equitable relief, fees and costs is GRANTED IN PART as
follows:
1. Plaintiff is awarded an additional $110,000, representing front pay in lieu of reinstatement.
2. Defendant is ORDERED to include a copy of the completed Verdict Forms C and D in
Plaintiff’s employment file.
3. Plaintiff is awarded attorney’s fees in the amount of $691,659.55 and costs and expenses
in the amount of $31,047.70.

                                                             /s/Paige Wymore-Wynn
Dated : 6/26/2019                                              Clerk of Court

                                                             /s/ K. McIlvain
                                                             Deputy Clerk




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